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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

          Plaintiff,

 v.                                                        Case No. 11-20551-25, 26, 31

 KRINA PATEL (D-25), SANJAY PATEL (D-26),
 and JAVAR MYATT-JONES (D-31),

          Defendants.
                                                  /

 ORDER FOR HEARING ON JOINT REPRESENTATION PURSUANT TO RULE 44(c)

          Three Defendants in this case are jointly represented by a single attorney, James

 Burdick. Federal Rule of Criminal Procedure 44(c) provides as follows in cases of joint

 representation:

          (1) Joint representation occurs when:

                (A) two or more defendants have been charged jointly under Rule 8(b)
          or have been joined for trial under Rule 13; and

                (B) the defendants are represented by the same counsel, or counsel
          who are associated in law practice.

          (2) The court must promptly inquire about the propriety of joint representation
          and must personally advise each defendant of the right to the effective
          assistance of counsel, including separate representation. Unless there is
          good cause to believe that no conflict of interest is likely to arise, the court
          must take appropriate measures to protect each defendant’s right to counsel.

          Joint representation in any criminal case presents the potential for a conflict of

 interest; the court is required to “promptly inquire” even if counsel does not raise the

 issue.
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        The court notes that court-appointed counsel is available if needed (and

 assuming a defendant qualifies financially) to represent a defendant or to consult with a

 defendant concerning dual representation.

        Any defendant who proposes to waive possible conflicts of interest resulting from

 joint representation must do so on the record and under oath. In appropriate situations,

 a court may disqualify an attorney despite a defendant’s proposed waiver of the right to

 conflict-free counsel even if the waiver is voluntary, knowing, and intelligent. See

 Wheat v. United States, 486 U.S. 153, 163 (1988) (“[T]he district court must be allowed

 substantial latitude in refusing waivers of conflicts of interest not only in those rare

 cases where an actual conflict may be demonstrated before trial, but in the more

 common cases where a potential for conflict exists which may or may not burgeon into

 an actual conflict as the trial progresses.”). The court intends to strongly recommend

 against dual or joint representation and is inclined to prohibit joint representation.

 Accordingly,

        IT IS ORDERED that a hearing shall be held in order to so advise Defendants in

 person as required by Rule 44(c) and to consider any proposed waiver of the right to

 separate counsel.

        The court cautions that an attorney proposing to jointly represent co-Defendants

 must be prepared with reasoned analysis to argue that “there is good cause to believe

 that no conflict of interest is likely to arise.” Fed. R. Crim. P. 44(c)(2). The court must

 conclude that, under the particular circumstances of this case, there is no reasonable




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 possibility that a conflict could arise that could result in a lack of effective assistance of

 counsel or other prejudice to any of the Defendants.

           The court’s case manager will promptly schedule a hearing consistent with this

 Order. In the event that Defendants retain additional, separate counsel, and the

 purpose of the hearing is thus rendered moot, original counsel must promptly notify the

 court, and the second counsel must file an appearance forthwith.



                                                              s/Robert H. Cleland
                                                             ROBERT H. CLELAND
                                                             UNITED STATES DISTRICT JUDGE

 Dated: April 4, 2013

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, April 4, 2013, by electronic and/or ordinary mail.

                                                              s/Lisa Wagner
                                                             Case Manager and Deputy Clerk
                                                             (313) 234-5522




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